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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF MINNESOTA



UNITED STATES OF AMERICA,

                   Plaintiff,



v.                                    ORDER
                                      Criminal File No. 11-87 (MJD/JJK)

(8) JUDE OBIRA OKAFOR,

                   Defendant.

Ann M. Anaya and John Docherty, Assistant United States Attorneys, Counsel
for Plaintiff.

John S. Hughes, Law Office of John S. Hughes, Counsel for Defendant.



      The above-entitled matter comes before the Court upon the Report and

Recommendation of United States Magistrate Judge Jeffrey J. Keyes dated

August 18, 2011. [Docket No. 443]

      Defendant filed objections to the Report and Recommendation.

      Pursuant to statute, the Court has conducted a de novo review of the

record, including the transcript of the hearing. 28 U.S.C. § 636(b)(1); Local Rule

72.2(b). Based upon that review, the Court ADOPTS the Report and


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Recommendation of United States Magistrate Judge Keyes dated August 18, 2011

to the extent that it holds that Defendant has no standing to challenge the

placement of the GPS device. The Court does not need to reach the issue of

whether the use of the GPS device was a search.

      Accordingly, based upon the files, records, and proceedings herein, IT IS

HEREBY ORDERED:

      1.    The Court ADOPTS the Report and Recommendation of United
            States Magistrate Judge Jeffrey J. Keyes dated August 18, 2011.
            [Docket No. 443].

      2.    Defendant’s Motion to Suppress Evidence Obtained as a Result of
            Unlawful Search and Seizure [Docket No. 425] is DENIED.



Dated: October 4, 2011                s/ Michael J. Davis
                                      Michael J. Davis
                                      Chief Judge
                                      United States District Court




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